     Case 19-18615-JKS       Doc 63    Filed 02/28/20 Entered 02/28/20 09:12:00             Desc Main
                                       Document Page 1 of 2


UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY
Marie-Ann Greenberg, MAG-1284
                                                                     Order Filed on February 28, 2020
Marie-Ann Greenberg, Standing Trustee                                by Clerk
30 TWO BRIDGES ROAD                                                  U.S. Bankruptcy Court
SUITE 330                                                            District of New Jersey

FAIRFIELD, NJ 07004-1550
973-227-2840
Chapter 13 Standing Trustee

 IN RE:
    ALEXIS MARTIN                                    Case No.: 19-18615 JKS

                                                     Hearing Date: 2/27/2020



              ORDER PERMITTING DEBTOR TO CURE ARREARAGES TO TRUSTEE

   The relief set forth on the following page, numbered two (2), is hereby ORDERED.




          DATED: February 28, 2020
      Case 19-18615-JKS         Doc 63    Filed 02/28/20 Entered 02/28/20 09:12:00       Desc Main
                                          Document Page 2 of 2
Debtor(s): ALEXIS MARTIN

Case No.: 19-18615
Caption of Order: ORDER PERMITTING DEBTOR TO CURE ARREARAGES TO TRUSTEE

   THIS MATTER having come before the Court on 02/27/2020 on notice to ROBERT C. NISENSON,

ESQ., and to the Debtor(s) herein, and good sufficient cause having been shown, it is:

   ORDERED, that if Debtor(s) are more than 30 days in arrears with their payment,

   then the case will be dismissed upon certification of the Standing Trustee.




                                               Page 2 of 2
